                  Case 25-01384-jd                  Doc 28         Filed 04/25/25 Entered 04/28/25 09:49:14                               Desc Main
                                                                   Document      Page 1 of 33
 Fill in this information to identify your case:
                                                                                                                                    Filed By The Court
                                                                                                                                  4/25/2025 6:13 PM
     Debtor 1          Jacqueline                  Elizabeth            Ard                                                      U.S. BANKRUPTCY COURT
                      First Name               Middle Name             Last Name                                               DISTRICT OF SOUTH CAROLINA
     Debtor 2          Terry                       Frank                Nicola
     (Spouse, if filing) First Name            Middle Name             Last Name

     United States Bankruptcy Court for the: District of South Carolina

     Case number      25-01384-JD
     (if known)                                                                                                                           ❑ Check if this is an
                                                                                                                                                  amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your
name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
       ✔ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
       ❑
       ❑ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.


            Person or company with whom you have the contract or lease                    State what the contract or lease is for

 2.1
          Name


          Number                      Street


          City                             State                          ZIP Code

 2.2
          Name


          Number                      Street


          City                             State                          ZIP Code

 2.3
          Name


          Number                      Street


          City                             State                          ZIP Code

 2.4
          Name


          Number                      Street


          City                             State                          ZIP Code




Official Form 106G                                         Schedule G: Executory Contracts and Unexpired Leases                                           page 1 of 1
               Case 25-01384-jd                    Doc 28     Filed 04/25/25 Entered 04/28/25 09:49:14                                   Desc Main
                                                              Document      Page 2 of 33
 Fill in this information to identify your case:

  Debtor 1           Jacqueline               Elizabeth          Ard
                     First Name              Middle Name         Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name         Last Name                                        Check if this is:

  United States Bankruptcy Court for the: District of South Carolina
                                                                                                                  ❑ An amended filing
                                                                                                                  ❑ A supplement showing postpetition chapter
  Case number                                                                                                         13 income as of the following date:
                     25-01384-JD
  (if known)
                                                                                                                      MM / DD / YYYY



Official Form 106I
Schedule I: Your Income                                                                                                                                        12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying
correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are
separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to
this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

   Part 1:       Describe Employment


 1. Fill in your employment                                             Debtor 1                                            Debtor 2 or non-filing spouse
    information.

    If you have more than one job,          Employment status          ❑ Employed                                         ❑ Employed
    attach a separate page with                                        ✔ Not employed
                                                                       ❑                                                  ✔ Not employed
                                                                                                                          ❑
    information about additional
    employers.
                                            Occupation
    Include part-time, seasonal, or
    self-employed work.
                                            Employer’s name
    Occupation may include student
    or homemaker, if it applies.
                                            Employer’s address
                                                                       Number       Street                                Number        Street




                                                                       City                State        ZIP Code          City             State            ZIP Code


                                            How long employed there?


   Part 2:       Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
    unless you are separated.

    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                   For Debtor 1             For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions). If not paid monthly, calculate what the monthly wage would be.       2.                   $0.00                        $0.00

 3. Estimate and list monthly overtime pay.                                           3.    +              $0.00        +               $0.00


 4. Calculate gross income. Add line 2 + line 3.                                      4.                  $0.00                       $0.00




Official Form 106I                                                 Schedule I: Your Income                                                                     page 1
               Case 25-01384-jd                                Doc 28                 Filed 04/25/25 Entered 04/28/25 09:49:14                                                                     Desc Main
                                                                                      Document      Page 3 of 33
Debtor 1              Jacqueline                         Elizabeth                         Ard                                             Case number (if known) 25-01384-JD
                     First Name                         Middle Name                       Last Name


                                                                                                                                             For Debtor 1                      For Debtor 2 or
                                                                                                                                                                               non-filing spouse

                                                                                                                    ➔ 4.                                  $0.00
     Copy line 4 here..........................................................................................................................................................................   $0.00

 5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                                         5a.                          $0.00                                 $0.00

     5b. Mandatory contributions for retirement plans                                                                          5b.                          $0.00                                 $0.00

     5c. Voluntary contributions for retirement plans                                                                          5c.                          $0.00                                 $0.00

     5d. Required repayments of retirement fund loans                                                                          5d.                          $0.00                                 $0.00

     5e. Insurance                                                                                                             5e.                          $0.00                                 $0.00

     5f.    Domestic support obligations                                                                                       5f.                          $0.00                                 $0.00

     5g. Union dues                                                                                                            5g.                          $0.00                                 $0.00

                                                                                                                               5h. +                        $0.00          +                      $0.00
     5h. Other deductions. Specify:

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                                6.                           $0.00                                 $0.00


 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                                        7.                           $0.00                                 $0.00

 8. List all other income regularly received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net
            income.                                                                   8a.                                                          $13,429.01                                     $0.00

     8b. Interest and dividends                                                                                                8b.                          $0.00                                 $0.00
     8c. Family support payments that you, a non-filing spouse, or a
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                               8c.                          $0.00                                 $0.00

     8d. Unemployment compensation                                                                                             8d.                          $0.00                                 $0.00

     8e. Social Security                                                                                                       8e.                          $0.00                          $3,482.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                                                           8f.                          $0.00                                 $0.00

     8g. Pension or retirement income                                                                                          8g.                          $0.00                          $3,053.00

                                                                                                                               8h. +                        $0.00          +                      $0.00
     8h. Other monthly income. Specify:

 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                                     9.               $13,429.01                              $6,535.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                                10.              $13,429.01             +                $6,535.00         =   $19,964.01

 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                                                        11. +        $0.00


Official Form 106I                                                                               Schedule I: Your Income                                                                                           page 2
            Case 25-01384-jd              Doc 28         Filed 04/25/25 Entered 04/28/25 09:49:14                            Desc Main
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Debtor 1         Jacqueline           Elizabeth             Ard                             Case number (if known) 25-01384-JD
                First Name           Middle Name           Last Name


 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies          12.       $19,964.01
                                                                                                                                       Combined
                                                                                                                                       monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     ❑ No.
     ✔ Yes. Explain:
     ❑                   Debtor 1's income will increase based on the peak season
                         Debtor 2's income will increase once payments are returned from ex-spouse's violation of the automatic stay




Official Form 106I                                              Schedule I: Your Income                                                         page 3
            Case 25-01384-jd                Doc 28         Filed 04/25/25 Entered 04/28/25 09:49:14                          Desc Main
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Debtor 1         Jacqueline             Elizabeth             Ard                           Case number (if known) 25-01384-JD
                 First Name            Middle Name           Last Name


 8a. Attached Statement

                                                                    Short Term Rental

 FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
 PART A - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:

       1.   Gross Monthly Income:                                                                                                    $6,829.01
 PART B - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
       2.   Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
            Business Debts

            TOTAL PAYMENTS TO SECURED CREDITORS                                                                             $0.00
       3.   Other Expenses

            TOTAL OTHER EXPENSES                                                                                            $0.00

       4.   TOTAL MONTHLY EXPENSES (Add item 2 - 21)                                                                                      $0.00
 PART C - ESTIMATED AVERAGE NET MONTHLY INCOME:

       5.   AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 1)                                                                $6,829.01




Official Form 106I                                                Schedule I: Your Income                                                page 4
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Debtor 1         Jacqueline             Elizabeth             Ard                           Case number (if known) 25-01384-JD
                 First Name            Middle Name           Last Name


 8a. Attached Statement

                                                                    Long Term Leases

 FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
 PART A - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:

       1.   Gross Monthly Income:                                                                                                    $1,100.00
 PART B - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
       2.   Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
            Business Debts

            TOTAL PAYMENTS TO SECURED CREDITORS                                                                             $0.00
       3.   Other Expenses

            TOTAL OTHER EXPENSES                                                                                            $0.00

       4.   TOTAL MONTHLY EXPENSES (Add item 2 - 21)                                                                                      $0.00
 PART C - ESTIMATED AVERAGE NET MONTHLY INCOME:

       5.   AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 1)                                                                $1,100.00




Official Form 106I                                                Schedule I: Your Income                                                page 5
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                                                           Document      Page 7 of 33
Debtor 1         Jacqueline             Elizabeth             Ard                           Case number (if known) 25-01384-JD
                 First Name            Middle Name           Last Name


 8a. Attached Statement

                                                                     June New rental

 FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
 PART A - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:

       1.   Gross Monthly Income:                                                                                                    $5,500.00
 PART B - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
       2.   Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
            Business Debts

            TOTAL PAYMENTS TO SECURED CREDITORS                                                                             $0.00
       3.   Other Expenses

            TOTAL OTHER EXPENSES                                                                                            $0.00

       4.   TOTAL MONTHLY EXPENSES (Add item 2 - 21)                                                                                      $0.00
 PART C - ESTIMATED AVERAGE NET MONTHLY INCOME:

       5.   AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 1)                                                                $5,500.00




Official Form 106I                                                Schedule I: Your Income                                                page 6
                   Case 25-01384-jd                Doc 28          Filed 04/25/25 Entered 04/28/25 09:49:14                           Desc Main
 Fill in this information to identify your case:
                                                                   Document      Page 8 of 33
  Debtor 1                 Jacqueline              Elizabeth            Ard
                          First Name               Middle Name         Last Name
                                                                                                             Check if this is:
                                                                                                             ❑ An amended filing
  Debtor 2                 Terry                   Frank                Nicola
  (Spouse, if filing)     First Name               Middle Name         Last Name
                                                                                                             ❑ A supplement showing postpetition chapter 13
                                                                                                                 expenses as of the following date:
  United States Bankruptcy Court for the:                        District of South Carolina
                                                                                                                 MM / DD / YYYY
  Case number                     25-01384-JD
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

    ❑No. Go to line 2.
    ✔ Yes. Does Debtor 2 live in a separate household?
    ❑
              ❑No
              ✔ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
              ❑
 2. Do you have dependents?
                                         ✔ No
                                         ❑
    Do not list Debtor 1 and
    Debtor 2.                            ❑Yes. Fill out this information Dependent's    relationship to
                                                                           Debtor 1 or Debtor 2
                                                                                                                       Dependent's
                                                                                                                       age
                                                                                                                                         Does dependent live
                                                                                                                                         with you?
                                                   for each
     Do not state the dependents'                  dependent...............
     names.                                                                                                                               ❑No. ❑Yes.
                                                                                                                                          ❑No. ❑Yes.
                                                                                                                                          ❑No. ❑Yes.
                                                                                                                                          ❑No. ❑Yes.
                                                                                                                                          ❑No. ❑Yes.
 3. Do your expenses include                  ✔ No
                                              ❑
    expenses of people other than
    yourself and your dependents?             ❑Yes

 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as
 of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                            Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)
 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any
    rent for the ground or lot.                                                                                           4.                      $0.00

     If not included in line 4:
     4a. Real estate taxes                                                                                                4a.                  $250.17
     4b. Property, homeowner's, or renter's insurance                                                                     4b.                    $63.83
     4c. Home maintenance, repair, and upkeep expenses                                                                    4c.                    $50.00
     4d. Homeowner's association or condominium dues                                                                      4d.                  $595.00




Official Form 106J                                                               Schedule J: Your Expenses                                                    page 1
 Debtor 1
                   Case 25-01384-jd            Doc 28       Filed 04/25/25 Entered 04/28/25 09:49:14 Desc Main
                     Jacqueline            Elizabeth          Ard
 Debtor 2            Terry                 Frank
                                                            Document
                                                              Nicola
                                                                          Page 9 of 33   Case number (if known) 25-01384-JD
                     First Name            Middle Name         Last Name

                                                                                                                    Your expenses

 5.   Additional mortgage payments for your residence, such as home equity loans                             5.                 $0.00

 6.   Utilities:
      6a. Electricity, heat, natural gas                                                                     6a.               $92.64
      6b. Water, sewer, garbage collection                                                                   6b.               $25.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                     6c.              $105.00

      6d. Other. Specify:                                                                                    6d.                $0.00
 7.   Food and housekeeping supplies                                                                         7.               $220.00

 8.   Childcare and children’s education costs                                                               8.                 $0.00

 9.   Clothing, laundry, and dry cleaning                                                                    9.               $100.00

 10. Personal care products and services                                                                     10.              $100.00

 11. Medical and dental expenses                                                                             11.              $100.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                            12.              $280.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.               $50.00

 14. Charitable contributions and religious donations                                                        14.              $100.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                                    15a.               $0.00
      15b. Health insurance                                                                                  15b.              $25.00
      15c. Vehicle insurance                                                                                 15c.             $168.00

      15d. Other insurance. Specify:                                                                         15d.               $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
     Specify:                                                                                                16.                $0.00

 17. Installment or lease payments:
     17a. Car payments for Vehicle 1 2017 Hyundai Elantra                                                    17a.             $699.00
      17b. Car payments for Vehicle 2 2020 Ram Truck ProMaster                                               17b.             $758.03
      17c. Other. Specify:                                                                                   17c.               $0.00
      17d. Other. Specify:                                                                                   17d.               $0.00
 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                  18.                $0.00

 19. Other payments you make to support others who do not live with you.
     Specify:                                                                                                19.                $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                                       20a.               $0.00
      20b. Real estate taxes                                                                                 20b.               $0.00
      20c. Property, homeowner’s, or renter’s insurance                                                      20c.             $665.20
      20d. Maintenance, repair, and upkeep expenses                                                          20d.               $0.00
      20e. Homeowner’s association or condominium dues                                                       20e.           $1,326.34




Official Form 106J                                                         Schedule J: Your Expenses                                    page 2
 Debtor 1
                Case 25-01384-jd              Doc 28       Filed 04/25/25 Entered 04/28/25 09:49:14 Desc Main
                      Jacqueline         Elizabeth           Ard
 Debtor 2             Terry              Frank
                                                           Document
                                                             Nicola
                                                                        Page 10 of 33   Case number (if known) 25-01384-JD
                      First Name          Middle Name          Last Name



 21. Other. Specify:                                                                                        21.    +           $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                          22a.            $5,773.21
      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                  22b.            $7,445.98
      22c. Add line 22a and 22b. The result is your monthly expenses.                                       22c.           $13,219.19


 23. Calculate your monthly net income.
      23a. Copy line 12 (your combined monthly income) from Schedule I.                                     23a.           $19,964.01
      23b. Copy your monthly expenses from line 22c above.                                                  23b.       –   $13,219.19
      23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                          23c.            $6,744.82



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ❑No.           Medical expenses may increase due to a recent injury
      ✔ Yes.
      ❑




Official Form 106J                                                      Schedule J: Your Expenses                                       page 3
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 Fill in this information to identify your case:
                                                                  Document     Page 11 of 33

  Debtor 1                 Jacqueline              Elizabeth            Ard
                          First Name               Middle Name         Last Name
                                                                                                           Check if this is:
                                                                                                           ❑ An amended filing
  Debtor 2                 Terry                   Frank                Nicola
  (Spouse, if filing)     First Name               Middle Name         Last Name
                                                                                                           ❑ A supplement showing postpetition chapter 13
                                                                                                                 expenses as of the following date:
  United States Bankruptcy Court for the:                        District of South Carolina
                                                                                                                 MM / DD / YYYY
  Case number                     25-01384-JD
  (if known)



Official Form 106J-2
Schedule J-2: Expenses for Separate Household of Debtor 2                                                                                                     12/15
Use this form for Debtor 2’s separate household expenses ONLY IF Debtor 1 and Debtor 2 maintain separate households. If Debtor 1 and Debtor 2 have one
or more dependents in common, list the dependents on both Schedule J and this form. Answer the questions on this form only with respect to expenses for
Debtor 2 that are not reported on Schedule J. Be as complete and accurate as possible. If more space is needed, attach another sheet to this form. On the top
of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Your Household

 1. Is this a joint case?

     ❑No. Do not complete this form.
     ✔ Yes
     ❑
 2. Do you have dependents?
                                              ✔ No
                                              ❑
     Do not list Debtor 1 but list all                                             Dependent's relationship to           Dependent's       Does dependent live
     other dependents of Debtor 2             ❑Yes. Fill out this information      Debtor 2:                             age               with you?
                                                   for each
     regardless of whether listed as a             dependent...............
     dependent of Debtor 1 on                                                                                                              ❑No. ❑Yes.
     Schedule J.
     Only list dependents
                                                                                                                                           ❑No. ❑Yes.
     Do not state the dependents'                                                                                                          ❑No. ❑Yes.
     names.                                                                                                                                ❑No. ❑Yes.
                                                                                                                                           ❑No. ❑Yes.
 3. Do your expenses include                  ✔ No
                                              ❑
    expenses of people other than
    yourself, your dependents, and            ❑Yes
    Debtor 1?


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as
 of a date after the bankruptcy is filed.

 Include expenses paid for with non-cash government assistance if you know the value of                                            Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)
 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any
    rent for the ground or lot.                                                                                          4.                   $1,602.35

     If not included in line 4:
     4a. Real estate taxes                                                                                               4a.                          $0.00
     4b. Property, homeowner's, or renter's insurance                                                                    4b.
                                                                                                                                                      $0.00
     4c. Home maintenance, repair, and upkeep expenses                                                                   4c.
                                                                                                                                                $240.00
     4d. Homeowner's association or condominium dues                                                                     4d.
                                                                                                                                                $480.00




Official Form 106J-2                                          Schedule J-2: Expenses for Separate Household of Debtor 2                                       page 1
                   Case 25-01384-jd            Doc 28       Filed 04/25/25 Entered 04/28/25 09:49:14                   Desc Main
Debtor 1             Jacqueline            Elizabeth        Document
                                                              Ard        Page 12 of 33
Debtor 2             Terry                 Frank                Nicola                                Case number (if known) 25-01384-JD
                     First Name            Middle Name          Last Name

                                                                                                                     Your expenses

 5.   Additional mortgage payments for your residence, such as home equity loans                            5.

 6.   Utilities:
      6a. Electricity, heat, natural gas                                                                    6a.                   $97.31
      6b. Water, sewer, garbage collection                                                                  6b.                  $100.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                    6c.
                                                                                                                                 $105.00
                                                                                                            6d.
      6d. Other. Specify:                                                                                                            $0.00

 7.   Food and housekeeping supplies                                                                        7.                   $220.00

 8.   Childcare and children’s education costs                                                              8.                       $0.00

 9.   Clothing, laundry, and dry cleaning                                                                   9.                   $100.00

 10. Personal care products and services                                                                    10.                   $80.00

 11. Medical and dental expenses                                                                            11.                  $170.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                           12.                  $240.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                     13.                   $80.00

 14. Charitable contributions and religious donations                                                       14.                  $100.00

 15. Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                   15a.                     $0.00

      15b. Health insurance                                                                                 15b.                  $25.00
      15c. Vehicle insurance                                                                                15c.
                                                                                                                                  $85.00
                                                                                                            15d.
      15d. Other insurance. Specify:                                                                                                 $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                            16.                      $0.00
      Specify:

 17. Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                       17a.                 $549.00
      17b. Car payments for Vehicle 2                                                                       17b.
                                                                                                            17c.
      17c. Other. Specify:
                                                                                                            17d.
      17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                 18.                      $0.00

 19. Other payments you make to support others who do not live with you
      Specify: MSA Payments                                                                                 19.                $3,172.32

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income

      20a. Mortgages on other property                                                                      20a.                     $0.00
      20b. Real estate taxes                                                                                20b.                     $0.00
      20c. Property, homeowner’s, or renter’s insurance                                                     20c.
                                                                                                                                     $0.00
      20d. Maintenance, repair, and upkeep expenses                                                         20d.
                                                                                                                                     $0.00
        20e. Homeowner’s association or condominium dues                                                   20e.
Official Form 106J-2                                Schedule J-2: Expenses for Separate Household of Debtor 2                        $0.00   page 2
               Case 25-01384-jd              Doc 28       Filed 04/25/25 Entered 04/28/25 09:49:14                           Desc Main
 Debtor 1              Jacqueline       Elizabeth         Document
                                                            Ard        Page 13 of 33
 Debtor 2              Terry            Frank                 Nicola                                       Case number (if known) 25-01384-JD
                       First Name       Middle Name            Last Name



 21. Other. Specify:                                                                                               21.   +               $0.00

 22. Your monthly expenses. Add lines 4 through 21.
      The result is the monthly expenses of Debtor 2. Copy the result to line 22b of Schedule J to calculate the                    $7,445.98
      total expenses for Debtor 1 and Debtor 2.
                                                                                                                   22.

 23. Line not used on this form.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑           Explain here:
      ❑Yes.




Official Form 106J-2                                   Schedule J-2: Expenses for Separate Household of Debtor 2                                 page 3
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 Fill in this information to identify your case:

  Debtor 1                  Jacqueline             Elizabeth          Ard
                           First Name              Middle Name        Last Name

  Debtor 2                  Terry                  Frank              Nicola
  (Spouse, if filing)      First Name              Middle Name        Last Name

  United States Bankruptcy Court for the:                        District of South Carolina

  Case number                     25-01384-JD                                                                                       ❑ Check if this is an
  (if known)                                                                                                                            amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/25
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ❑ No
    ✔ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
    ❑
      Debtor 1:                                              Dates Debtor 1 lived    Debtor 2:                                            Dates Debtor 2 lived
                                                             there                                                                        there


                                                                                    ✔ Same as Debtor 1
                                                                                    ❑                                                    ✔ Same as Debtor 1
                                                                                                                                         ❑
     21215 Dartmouth Dr                                    From 10/08/2024                                                               From
    Number       Street
                                                           To      03/13/2025        Number      Street                                  To

     Southfield, MI 48076-5634
    City                            State ZIP Code
                                                                                     City                          State ZIP Code


                                                                                    ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                           From                       1006 Laurel Oak Dr                                From 07/01/2023
    Number       Street                                                              Number      Street
                                                           To
                                                                                                                                        To    07/01/2024

                                                                                      Valencia, PA 16059-1338
    City                            State ZIP Code                                   City                          State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1
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Debtor 2            Terry             Frank                  Nicola                                          Case number (if known) 25-01384-JD
                    First Name        Middle Name            Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross Income                Sources of income           Gross Income
                                                Check all that apply.       (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the
                                               ❑ Wages, commissions,                                   ❑ Wages, commissions,
    date you filed for bankruptcy:                  bonuses, tips                                          bonuses, tips
                                               ✔ Operating a business
                                               ❑                                      $6,829.01        ❑ Operating a business

    For last calendar year:                    ❑ Wages, commissions,                                   ❑ Wages, commissions,
                                                    bonuses, tips                                          bonuses, tips
    (January 1 to December 31, 2024       )
                                   YYYY        ✔ Operating a business
                                               ❑                                    $81,948.16         ❑ Operating a business

    For the calendar year before that:         ❑ Wages, commissions,                                   ❑ Wages, commissions,
                                                    bonuses, tips                                          bonuses, tips
    (January 1 to December 31, 2023       )
                                   YYYY        ✔ Operating a business
                                               ❑                                    $59,249.21         ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross income from           Sources of income           Gross Income from
                                                Describe below.             each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:


    For last calendar year:
    (January 1 to December 31, 2024       )
                                   YYYY



    For the calendar year before that:
    (January 1 to December 31, 2023       )
                                   YYYY




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Debtor 2             Terry                        Frank                Nicola                                         Case number (if known) 25-01384-JD
                     First Name                   Middle Name          Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑ No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $8,575* or more?

              ❑ No. Go to line 7.
              ❑ Yes.        List below each creditor to whom you paid a total of $8,575* or more in one or more payments and the total amount you
                            paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                            not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/28 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔ Yes.
    ❑         Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ✔ No. Go to line 7.
              ❑
              ❑ Yes.        List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                            include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                            an attorney for this bankruptcy case.

                                                                  Dates of           Total amount paid         Amount you still owe       Was this payment for…
                                                                  payment

                                                                                                                                         ❑ Mortgage
             Creditor's Name
                                                                                                                                         ❑ Car
                                                                                                                                         ❑ Credit card
                                                                                                                                         ❑ Loan repayment
             Number       Street


                                                                                                                                         ❑ Suppliers or vendors
             City                         State      ZIP Code
                                                                                                                                         ❑ Other


  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.
                                                                Dates of           Total amount paid   Amount you still          Reason for this payment
                                                                payment                                owe



    Insider's Name


    Number     Street




    City                          State      ZIP Code




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Debtor 1             Jacqueline            Elizabeth              Ard
Debtor 2             Terry                 Frank                  Nicola                                          Case number (if known) 25-01384-JD
                     First Name            Middle Name            Last Name



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                          Dates of            Total amount paid    Amount you still           Reason for this payment
                                                          payment                                  owe                        Include creditor’s name



    Insider's Name


    Number       Street




    City                          State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                     Nature of the case                      Court or agency                                  Status of the case

                                                     Appeal of Foreclosure
    Case title        Spa on Port Royal
                                                     action/judgement                       SC Court of Appeals                             ✔ Pending
                                                                                                                                            ❑
                      Sound V. Jacqueline
                      Ard
                                                                                            Court Name
                                                                                                                                            ❑ On appeal
                                                                                                                                            ❑ Concluded
                                                                                            1220 Senate Street
    Case number 2025-000648                                                                 Number       Street
                                                                                            Columbia, SC 29201
                                                                                            City                      State     ZIP Code


                                                     Real Estate Dispute
    Case title        Thomas S Crook v                                                      State Of Michigan 55th Clare                    ✔ Pending
                                                                                                                                            ❑
                      Cummings Reality
                      Inc.
                                                                                            County
                                                                                            Court Name
                                                                                                                                            ❑ On appeal
                                                                                            225 West Main                                   ❑ Concluded
    Case number 2022-0000900398CZ
                                                                                            Number       Street
                                                                                            Harrison, MI 48625
                                                                                            City                      State     ZIP Code


    Case title        HHR Four Seasons v                                                    SC Court of Common Pleas                        ✔ Pending
                                                                                                                                            ❑
                      Jacqueline Ard and
                      et al
                                                                                            Court Name
                                                                                                                                            ❑ On appeal
                                                                                            Number       Street
                                                                                                                                            ❑ Concluded
    Case number 2023 CP 0701305

                                                                                            City                      State     ZIP Code




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Debtor 2            Terry              Frank                Nicola                                          Case number (if known) 25-01384-JD
                    First Name         Middle Name          Last Name

                                               Nature of the case                      Court or agency                            Status of the case

    Case title       HHR Four Seasons v                                               SC Court of Appeals                        ❑ Pending
                     Jacqueline Ard and
                     Terry Nicola
                                                                                      Court Name
                                                                                                                                 ✔ On appeal
                                                                                                                                 ❑
                                                                                                                                 ❑ Concluded
                                                                                      1220 Senate Street
    Case number 2021 CP 0701984                                                       Number       Street
                                                                                      Columbia, SC 29201
                                                                                      City                    State   ZIP Code


                                               Damages Viloation of Auto
    Case title       in re Jacqueline Ard
                                               stay                                   J. Bratton Davis                           ❑ Pending
                     and Terry Nicola                                                 Court Name
                                                                                                                                 ✔ On appeal
                                                                                                                                 ❑
                                                                                                                                 ❑ Concluded
    Case number 24-03611                                                              US Bankruptcy Courthouse
                                                                                      1100 Laurel St
                                                                                      Number       Street
                                                                                      Columbia, SC 29201-2423
                                                                                      City                    State   ZIP Code


                                               Violation of Stay
    Case title       in re Jacqueline v                                               J. Bratton Davis                           ✔ Pending
                                                                                                                                 ❑
                     Zeidman Jewelry                                                  Court Name
                                                                                                                                 ❑ On appeal
                                                                                                                                 ❑ Concluded
    Case number 25-80005                                                              US Bankruptcy Courthouse
                                                                                      1100 Laurel St
                                                                                      Number       Street
                                                                                      Columbia, SC 29201-2423
                                                                                      City                    State   ZIP Code


                                               Violation of Stay
    Case title       Hilton Head Resorts                                              J. Bratton Davis                           ✔ Pending
                                                                                                                                 ❑
                     v Jacqueline Ard et
                     al
                                                                                      Court Name
                                                                                                                                 ❑ On appeal
                                                                                                                                 ❑ Concluded
                                                                                      US Bankruptcy Courthouse
    Case number 25 80006                                                              1100 Laurel St
                                                                                      Number       Street
                                                                                      Columbia, SC 29201-2423
                                                                                      City                    State   ZIP Code


                                               foreclosure
    Case title       Estate at Westbury                                               SC Court of Appeals                        ❑ Pending
                     v. Jacqueline Ard et
                     al
                                                                                      Court Name
                                                                                                                                 ✔ On appeal
                                                                                                                                 ❑
                                                                                                                                 ❑ Concluded
                                                                                      1220 Senate Street
    Case number ap2025 000677                                                         Number       Street
                                                                                      Columbia, SC 29201
                                                                                      City                    State   ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ❑ No. Go to line 11.
    ✔ Yes. Fill in the information below.
    ❑




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Debtor 1            Jacqueline             Elizabeth               Ard
Debtor 2            Terry                  Frank                   Nicola                                         Case number (if known) 25-01384-JD
                    First Name             Middle Name             Last Name

                                                                    Describe the property                                Date              Value of the property
                                                                    2017 Hyundai Elantra
    Title Max Corporation                                                                                                04/09/2025                 $4,500.00
    Creditor’s Name

    15 Bull St
    Number     Street                                               Explain what happened

                                                                   ✔ Property was repossessed.
                                                                   ❑
                                                                   ❑ Property was foreclosed.
    Savannah, GA 31401-2685                                        ❑ Property was garnished.
    City                           State    ZIP Code               ❑ Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                            Describe the action the creditor took                      Date action was    Amount
                                                                                                                       taken
    Creditor’s Name



    Number     Street



    City                          State    ZIP Code
                                                           Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ❑ No
    ✔ Yes
    ❑

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.




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Debtor 1             Jacqueline             Elizabeth            Ard
Debtor 2             Terry                  Frank                Nicola                                         Case number (if known) 25-01384-JD
                     First Name             Middle Name          Last Name

     Gifts with a total value of more than $600           Describe the gifts                                        Dates you gave     Value
     per person                                                                                                     the gifts



    Person to Whom You Gave the Gift




    Number     Street



    City                            State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities          Describe what you contributed                                Date you              Value
     that total more than $600                                                                                 contributed



    Charity’s Name




    Number     Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                           Date of your loss     Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




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Debtor 2            Terry               Frank                Nicola                                         Case number (if known) 25-01384-JD
                    First Name          Middle Name          Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of any property transferred            Date payment or        Amount of payment
                                                                                                           transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of any property transferred            Date payment or        Amount of payment
                                                                                                           transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




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Debtor 2            Terry                Frank                Nicola                                         Case number (if known) 25-01384-JD
                    First Name           Middle Name          Last Name

                                               Description and value of property         Describe any property or payments               Date transfer was
                                               transferred                               received or debts paid in exchange              made

    Person Who Received Transfer



    Number      Street




    City                   State    ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Description and value of the property transferred                                         Date transfer was
                                                                                                                                         made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Last 4 digits of account number       Type of account or       Date account was           Last balance
                                                                                      instrument               closed, sold, moved, or    before closing or
                                                                                                               transferred                transfer

    Name of Financial Institution
                                                XXXX–                               ❑ Checking
                                                                                    ❑ Savings
    Number      Street
                                                                                    ❑ Money market
                                                                                    ❑ Brokerage
                                                                                    ❑ Other
    City                   State    ZIP Code




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Debtor 2            Terry                Frank                Nicola                                         Case number (if known) 25-01384-JD
                    First Name           Middle Name          Last Name



  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Who else had access to it?                  Describe the contents                    Do you still have
                                                                                                                                      it?

                                                                                                                                     ❑ No
    Name of Financial Institution               Name
                                                                                                                                     ❑ Yes

    Number      Street                          Number    Street



                                                City                 State    ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                 Who else has or had access to it?           Describe the contents                    Do you still have
                                                                                                                                      it?
                                                                                            Assorted Business equipment
    Go-Store It                                                                                                                      ❑ No
    Name of Storage Facility                    Name                                                                                 ✔ Yes
                                                                                                                                     ❑
    33 Parmenter Rd.
    Number      Street                          Number    Street



                                                City                  State    ZIP Code
    Bluffton, SC 29910
    City                    State    ZIP Code

                                                                                            Personal belongs.
    PODS                                                                                                                             ❑ No
    Name of Storage Facility                    Name                                                                                 ✔ Yes
                                                                                                                                     ❑
    280 Leetsdale Industrial Dr. Ste
    200                                         Number    Street
    Number      Street


                                                City                  State    ZIP Code

    Leetsdale, PA 15056
    City                    State    ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
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Debtor 2            Terry               Frank                 Nicola                                               Case number (if known) 25-01384-JD
                    First Name          Middle Name            Last Name

                                                Where is the property?                             Describe the property                     Value



    Owner's Name
                                               Number     Street



    Number     Street

                                               City                       State   ZIP Code



    City                   State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Governmental unit                             Environmental law, if you know it              Date of notice



    Name of site                              Governmental unit



    Number     Street                         Number     Street



                                              City                State     ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




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Debtor 2            Terry                 Frank                     Nicola                                           Case number (if known) 25-01384-JD
                    First Name            Middle Name               Last Name

                                                   Governmental unit                        Environmental law, if you know it                  Date of notice



    Name of site                                  Governmental unit



    Number        Street                          Number       Street



                                                  City                  State   ZIP Code


    City                    State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                   Court or agency                          Nature of the case                                 Status of the case



    Case title                                                                                                                                 ❑ Pending
                                                                                                                                               ❑ On appeal
                                                  Court Name


                                                                                                                                               ❑ Concluded
                                                  Number       Street


    Case number
                                                  City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ✔ An officer, director, or managing executive of a corporation
           ❑
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ❑ No. None of the above applies. Go to Part 12.
    ✔ Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                    Describe the nature of the business                      Employer Identification number
    Global Management Group LLC                                                                              Do not include Social Security number or ITIN.
    Name
                                                   Property Management
                                                                                                              EIN:   6     1 – 1   6   0   4   1   1   1


                                                    Name of accountant or bookkeeper                         Dates business existed
    21215 Dartmouth Dr
    Number        Street
                                                                                                              From 09/24/2009 To
    Southfield, MI 48076-5634
    City                    State   ZIP Code




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Debtor 2            Terry               Frank                   Nicola                                       Case number (if known) 25-01384-JD
                    First Name          Middle Name             Last Name

                                                Describe the nature of the business                  Employer Identification number
     Beachside Estates LLC                                                                           Do not include Social Security number or ITIN.
    Name
                                               Multi-member LLC Partnership
                                                                                                      EIN:   8   8 – 1    0   0   9   4   3   1


                                                Name of accountant or bookkeeper                     Dates business existed
     100 Kensington Blvd Unit 1106
    Number     Street
                                                                                                      From 03/03/2022 To
     Bluffton, SC 29910
    City                   State   ZIP Code

                                                Describe the nature of the business                  Employer Identification number
     Global Management Group LLC                                                                     Do not include Social Security number or ITIN.
    Name
                                               Property Management
                                                                                                      EIN:   6   1 – 1    6   0   4   1   1   1


                                                Name of accountant or bookkeeper                     Dates business existed
     21215 Dartmouth Dr
    Number     Street
                                                                                                      From 09/24/2009 To
     Southfield, MI 48076-5634
    City                   State   ZIP Code

                                                Describe the nature of the business                  Employer Identification number
     Beachside Estates LLC                                                                           Do not include Social Security number or ITIN.
    Name
                                               Multi-member LLC Partnership
                                                                                                      EIN:   8   8 – 1    0   0   9   4   3   1


                                                Name of accountant or bookkeeper                     Dates business existed
     100 Kensington Blvd Unit 1106
    Number     Street
                                                                                                      From 03/03/2022 To
     Bluffton, SC 29910
    City                   State   ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.
                                                Date issued



    Name                                       MM / DD / YYYY



    Number     Street




    City                   State   ZIP Code




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 Fill in this information to identify your case:                                                                            Check as directed in lines 17 and 21:
                                                                                                                            According to the calculations required by this
  Debtor 1                  Jacqueline             Elizabeth            Ard                                                 Statement:
                           First Name              Middle Name          Last Name                                           ✔ 1. Disposable income is not determined
                                                                                                                            ❑
  Debtor 2                  Terry                  Frank                Nicola                                                 under 11 U.S.C. § 1325(b)(3).
  (Spouse, if filing)      First Name              Middle Name          Last Name                                           ❑ 2. Disposable income is determined
                                                                                                                               under 11 U.S.C. § 1325(b)(3).
                                                                 District of South Carolina
  United States Bankruptcy Court for the:
                                                                                                                            ✔ 3. The commitment period is 3 years.
                                                                                                                            ❑
  Case number                     25-01384-JD                                                                               ❑ 4. The commitment period is 5 years.
  (if known)

                                                                                                                            ❑ Check if this is an amended filing
Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                  10/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name
and case number (if known).


 Part 1: Calculate Your Average Monthly Income

 1. What is your marital and filing status? Check one only.
     ❑ Not married. Fill out Column A, lines 2-11.
     ✔ Married. Fill out both Columns A and B, lines 2-11.
     ❑
  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income
  varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For
  example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write
  $0 in the space.

                                                                                                                 Column A              Column B
                                                                                                                 Debtor 1              Debtor 2 or
                                                                                                                                       non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all                                          $0.00                    $0.00
    payroll deductions).

 3. Alimony and maintenance payments. Do not include payments from a spouse.                                                $0.00                    $0.00

 4. All amounts from any source which are regularly paid for household expenses of you or
    your dependents, including child support. Include regular contributions from an
    unmarried partner, members of your household, your dependents, parents, and
    roommates. Do not include payments from a spouse. Do not include payments you listed
    on line 3.                                                                                                              $0.00                    $0.00

 5. Net income from operating a business, profession, or
    farm                                                                 Debtor 1          Debtor 2

     Gross receipts (before all deductions)                                $1,385.94            $0.00

     Ordinary and necessary operating expenses                      -         $0.00    -        $0.00


     Net monthly income from a business, profession, or farm              $1,385.94            $0.00    Copy
                                                                                                        here →       $1,385.94                       $0.00

 6. Net income from rental and other real property                       Debtor 1          Debtor 2

     Gross receipts (before all deductions)                                   $0.00             $0.00

     Ordinary and necessary operating expenses                      -         $0.00    -        $0.00


     Net monthly income from rental or other real property                    $0.00            $0.00    Copy
                                                                                                        here →              $0.00                    $0.00



 Official Form 122C-1                     Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                    page 1
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Debtor 2                   Terry                          Frank                               Nicola                                  Case number (if known) 25-01384-JD
                           First Name                      Middle Name                        Last Name
                                                                                                                        Column A                    Column B
                                                                                                                        Debtor 1                    Debtor 2 or
                                                                                                                                                    non-filing spouse
 7. Interest, dividends, and royalties                                                                                                 $0.00                     $0.00
 8. Unemployment compensation                                                                                                          $0.00                     $0.00
    Do not enter the amount if you contend that the amount received was a benefit under
    the Social Security Act. Instead, list it here: ..................................................    ↓
           For you....................................................................................        $0.00
           For your spouse......................................................................          $3,427.67
 9. Pension or retirement income. Do not include any amount received that was a benefit                                                $0.00                 $4,141.33
    under the Social Security Act. Also, except as stated in the next sentence, do not
    include any compensation, pension, pay, annuity, or allowance paid by the United
    States Government in connection with a disability, combat-related injury or disability, or
    death of a member of the uniformed services. If you received any retired pay paid
    under chapter 61 of title 10, then include that pay only to the extent that it does not
    exceed the amount of retired pay to which you would otherwise be entitled if retired
    under any provision of title 10 other than chapter 61 of that title.

 10. Income from all other sources not listed above. Specify the source and amount. Do
     not include any benefits received under the Social Security Act; payments received as
     a victim of a war crime, a crime against humanity, or international or domestic
     terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
     States Government in connection with a disability, combat-related injury or disability, or
     death of a member of the uniformed services. If necessary, list other sources on a
     separate page and put the total below.




    Total amounts from separate pages, if any.                                                                         +                             +

 11. Calculate your total average monthly income. Add lines 2 through 10 for each                                               $1,385.94            +       $4,141.33      = $5,527.27
     column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                             Total average
                                                                                                                                                                            monthly income

Part 2: Determine How to Measure Your Deductions from Income

 12. Copy your total average monthly income from line 11. .................................................................................                                     $5,527.27
 13. Calculate the marital adjustment. Check one:

   ❑ You are not married. Fill in 0 below.
   ✔ You are married and your spouse is filing with you. Fill in 0 below.
   ❑
   ❑ You are married and your spouse is not filing with you.
       Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or
       your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than you or your
       dependents.
       Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list
       additional adjustments on a separate page.
       If this adjustment does not apply, enter 0 below.




                                                                                                                 +

       Total...........................................................................................                      $0.00            Copy here. →              -          $0.00

 14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                  $5,527.27




Official Form 122C-1                                   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                     page 2
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 Fill in this information to identify your case:

  Debtor 1                      Jacqueline                  Elizabeth                Ard
                               First Name                  Middle Name              Last Name

  Debtor 2                      Terry                       Frank                    Nicola
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                   District of South Carolina

  Case number                           25-01384-JD                                                                                                                      ❑ Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                    $606,700.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                         $369,957.03

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                    $976,657.03



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                             $387,112.82

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                    $22,051.73

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +          $402,868.80

                                                                                                                                                  Your total liabilities                  $812,033.35

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                  $19,964.01


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                $13,219.19




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                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ❑ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
   ✔ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
   ❑
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)



    9d. Student loans. (Copy line 6f.)



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +


    9g. Total. Add lines 9a through 9f.




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                            page 2 of 2
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